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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

PATRIOT SERVICES GROUP
LOUISIANA, INC.,

                      Plaintiff,

v.                                                Case No. 2:22-cv-11-SPC-NPM

LUXOR CONTRACTING GROUP
INC., and
LUXOR BUILDING GROUP, LLC,

                      Defendants.


              CASE MANAGEMENT AND SCHEDULING ORDER

       Having considered the parties’ agreed dates in the Uniform Case

 Management Report, the court enters this Case Management and Scheduling

 Order:

             DEADLINE                                     DATE

 Disclosure Statements              DUE IMMEDIATELY

 Rule 26(a)(1) Mandatory Initial ☐ Exchanged
 Disclosures
                                 ☒ To be exchanged by 4/22/2022

 Motions to Add or Join Parties     4/29/2022
 or Amend Pleadings

 Disclosure of any Expert           Plaintiff: 7/8/2022
 Report                             Defendant: 8/8/2022
                                    Rebuttal: 9/8/2022

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              DEADLINE                                                DATE

    Discovery and Motions to                  9/30/2022
    Compel Discovery

    Mediation                                 10/7/2022
                                              Certified Mediator Designated below
                                              Bryan Rendzio

    Dispositive and Daubert                    11/15/2022
    Motions 1

    Final Pretrial Meeting                    3/31/2023

    Motions in Limine                         4/10/2023

    Joint Final Pretrial Statement, 4/14/2023
    Proposed Jury Instructions and
    Verdict Form, and Trial Briefs
    (if applicable)

    Final Pretrial Conference                 4/28/2023

    Monthly Trial Term                        5/1/2023

    Estimated Length of Trial                 4 days

    Jury or Non-Jury                          Jury

A. Compliance

       Counsel and all parties (represented and pro se) must comply fully with this
Order. Motions to extend the above deadlines are disfavored. Deadlines may be
modified only for good cause and with the judge’s consent. Also, filing a motion
to extend a deadline does not toll the time to comply with other deadlines set by
rule or court order.

      All counsel and parties must comply with the Federal Rules of Civil
Procedure, the Local Rules of the United States District Court for the Middle
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 Daubert motions must not be titled or filed as motions to strike. When filing via CM/ECF, use the “In
Limine” event under Civil Events-Motions.
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District of Florida, except as modified here, the Handbook on Civil Discovery
Practice in the United States District Court for the Middle District of Florida, the
United States District Court for the Middle District Florida’s Administrative
Procedures for Electronic Filing, the Florida Bar Professionalism Expectations,
and the Florida Bar Trial Lawyers Section’s Guidelines for Professional Conduct.

B. Consent to Magistrate Judge

      At any time during this case, the parties may consent to proceed before the
assigned Magistrate Judge to conduct some or all proceedings (including specified
motions and trial) and enter final judgment by filing the appropriate AO85 form.
A party may withhold consent without adverse consequences.

C. Motions

    1. Certification Under Local Rule 3.01(g): Before filing most motions, the
       movant must confer with the opposing party in a good faith effort to resolve
       issue(s). 2 Failure to comply with Local Rule 3.01(g) may cause the Court to
       deny or strike the motion.

        At the end of the motion and under the heading “Local Rule 3.01(g)
        Certification,” the movant:

                (A) must certify that the movant has conferred with the opposing
                    party,

                (B) must state whether the parties agree on the resolution of all or
                    part of the motion, and

                (C) if the motion is opposed, must explain the means by which the
                    conference occurred.

        For anything other than joint or unopposed motions, the term “confer”
        requires a substantive conversation in person, by telephone, or via
        videoconference. It does not envision an exchange of ultimatums by email
        or letter. Counsel who merely tries to confer has not “conferred.”


2
 A Local Rule 3.01(g) Certification is not required for a motion for injunctive relief, for judgment on the
pleadings, for summary judgment, or to certify a class. It is required for all other motions, including Rule
12 motions to dismiss.
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       If the opposing party is unavailable before the motion’s filing, the movant
       after filing must try diligently for 3 days to contact the opposing party.
       Promptly after either contact or expiration of the 3 days, the movant must
       supplement the motion with a statement certifying whether the parties have
       resolved all or part of the motion. Failure to timely supplement can result in
       denial of the motion without prejudice. The purposeful evasion of a
       communication under this rule can result in sanction.

   2. Failure to Respond to Motions

     Under Local Rule 3.01(c), if a party fails to timely respond to a motion, the
motion is subject to treatment as unopposed.

   3. Motions for Summary Judgment

           a. Number of Motions: Only one motion for summary judgment may be
              filed by a party (or multiple parties represented by the same counsel)
              absent leave of Court.

           b. Required Materials: A motion for summary judgment must include a
              memorandum of law in support and a specifically captioned section
              titled, “Statement of Material Facts” in a single document not to
              exceed 25 pages in length. The statement of material facts must list
              each material fact alleged not to be disputed in separate, numbered
              paragraphs. Each fact must be supported by a pinpoint citation to the
              specific part of the record relied on to support that fact. Failure to
              submit a statement of material facts constitutes grounds to deny
              the motion.

               An opposition to a motion for summary judgment must include a
               memorandum of law and a specifically captioned section titled,
               “Response to Statement of Material Facts” in a single document not
               to exceed 20 pages in length. The opposing party’s response to the
               statement of material facts must mirror the statement of material facts
               by admitting and/or denying each of the moving party’s assertions in
               matching numbered paragraphs. Each denial must set forth a
               pinpoint citation to the record where the fact is disputed. Although
               the opposing party’s response must correspond with the paragraph
               scheme used in the statement of material facts, the response need not
               repeat the text of the moving party’s paragraphs. In deciding a motion
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               for summary judgment, any fact that the opposing counsel or party
               does not specifically controvert and not otherwise included in the
               Response to Statement of Disputed Material Facts may also be
               deemed undisputed if supported by record evidence.

               The movant may file a reply brief not to exceed 7 pages in length
               with pinpoint citations to the record within 14 days after service of
               the response. Any motion for a sur-reply is disfavored and should be
               made only in exceptional circumstances.

               When citing to the record, the parties should first use any CM/ECF
               designated document number and page number throughout the briefs.
               Where no CM/ECF citation is available, a specific format like “Ex.
               1., p.2” should be used throughout the brief. Further, a general
               reference to a deposition is inadequate—the page and line number of
               the deposition transcript must be included. For example, a general
               reference to “Deposition of Jones” is insufficient.

           c. Deposition Transcripts as Exhibits: If depositions are filed to support
              a motion for summary judgment, the Court prefers the deposition be
              filed in its entirety (a condensed version is acceptable) with exhibits.

           d. Exhibit Index: A motion for summary judgment or a response with
              exhibits totaling over 10 pages must include an index to the exhibits
              that lists the exhibit number and title of the exhibit. Counsel must file
              the index as the last attachment to the parent document. See “Exhibit
              Index” below for a sample exhibit index.

           e. Oral Argument: Unless specifically ordered, the Court will not hold
              oral argument on a summary judgment motion. If a party requests oral
              argument, it must do so in a separate document accompanying the
              party’s motion or response and stating the time necessary.

   4. Exhibit Index (required only for cases assigned to Judge Chappell)

      For all motions before Judge Chappell, any motion with exhibits totaling
over 10 pages must have an index (see below) that includes the exhibit number
and title of the exhibit. The index must be the last attachment to the parent
document.


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            Number                                        Title
              1                 Affidavit of John Smith
              2                 Jane Doe’s Deposition
               3-A              Contract Between XYZ Company and ABC Company
                                (Part 1, Pages 1-15)

               3-B              Contract Between XYZ Company and ABC Company
                                (Part 2, Pages 16-24)

                4               XYZ Company General Ledgers

   5. Motion for Attorney’s Fees and Expenses

       Under Local Rule 7.01(b), a party claiming fees and expenses must first
move for a determination of entitlement within 14 days after entry of judgment. If
the parties agree to entitlement, however, they need only file a joint stipulation to
that effect within the 14-day deadline. A supplemental motion on amount must be
filed as required by Local Rule 7.01(c).

D. Mediation

   1. Referral: The assigned District Judge refers this case to mandatory mediation.

   2. Participation: Lead counsel, the parties or a party’s surrogate satisfactory to
      the mediator, and any necessary insurance carrier representative must attend
      the mediation in a good faith effort to resolve this suit. Any unexcused
      absence or departure from mediation is sanctionable. And a failure by a
      required person to participate in good faith must be promptly reported to the
      assigned Magistrate Judge during or immediately after mediation.

       Participants must be prepared to spend as much time as needed at mediation.
       The mediation will continue (including additional conferences) until the
       mediator declares an impasse or ends the mediation. Only the mediator may
       declare an impasse, which must not be the result of one or more required
       persons unreasonably declaring themselves no longer available.

   3. Deadline: The parties must complete mediation on or before the deadline in
      the above table. Counsel must also confirm a mediation date agreeable to the
      mediator and the parties and then notify the Court of the date at least 14 days

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       before the mediation.

   4. Report of Mediator: The mediator must report within 7 days after mediation
      the result of the mediation and whether all required persons attended.

   5. Confidentiality: The substance of the mediation is confidential and no party,
      lawyer, or other participant is bound by, may record, or without the judge’s
      approval may disclose any event, including any statement confirming or
      denying a fact – except settlement – that occurs during the mediation.

E. Final Pretrial Procedures

   1. Final Pretrial Meeting: By the above deadline, lead counsel and any
      unrepresented party must meet in person in a good faith effort to:

           a. discuss the possibility of settlement. The parties must exhaustively
              discuss settling before completing this Order’s final trial
              preparations.

           b. stipulate to as many facts and issues as possible. The parties must
              make a meaningful effort to stipulate to facts and law, and to limit,
              narrow, and simplify the issues of fact and law that remain contested.
              Parties who have complied with this requirement in good faith will
              file a Joint Final Pretrial Statement listing far more agreed facts and
              principles of law than those that remain for determination at trial.

           c. examine all individual and joint exhibits to be offered at trial. The
              parties should also prepare and exchange exhibit lists bearing a
              description identifying each exhibit and sponsoring witness. Without
              good cause, the Court will not receive in evidence over objection any
              exhibits, including charts, diagrams, and demonstrative evidence, not
              presented to opposing counsel or unrepresented parties for inspection
              and copying at the required meeting, or not listed in the joint final
              pretrial statement.

           d. exchange the names and addresses of all witnesses and state the
              likelihood each witness will testify at trial.

           e. prepare a Joint Final Pretrial Statement.


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   2. Joint Final Pretrial Statement: By the above deadline, the parties must file
      a final pretrial statement that will govern trial. The statement must contain
      all items listed in Local Rule 3.06(b) and case-specific voir dire questions.
      The Court will strike pretrial statements that are unilateral, partly executed,
      or otherwise incomplete. Inadequate stipulations of fact and law may also
      be stricken. Sanctions may be imposed for failure to comply, including the
      striking of pleadings.

           a. Depositions: Specify the pages and lines of each deposition offered
              in lieu of live testimony, unless used only for impeachment. Include
              a page-and-line description of any testimony that remains in dispute
              with argument and authority for each party’s position. Submit edited
              and marked electronic copies (for the portion offered by each party)
              of any depositions or deposition excerpts to be offered in evidence.
              Edited and marked electronic copies must also be emailed to the
              assigned District Judge’s Chambers inbox before the final pretrial
              conference.

           b. Case-Specific Proposed Voir Dire Questions: Jointly file proposed
              voir dire questions specific to the case for the Court’s consideration.
              Proposed questions must also be emailed in Microsoft Word® format
              to the assigned District Judge’s Chambers inbox.

   3. Trial Briefs: For bench trials only, each party must file and serve a trial brief
      with proposed findings of fact and conclusions of law.

   4. Witness Lists: By the Joint Final Pretrial Statement deadline above, each
      party must file and email in Microsoft Word® format to the assigned
      District Judge’s Chambers inbox a list of all witnesses who may be called at
      trial. On the morning of trial before jury selection, each party must also give
      the Courtroom Deputy Clerk 3 copies of their final witness lists.

       Each party must use the Civil Witness List form found on the Court’s
       website. When filling out the form, counsel may ignore the column titled,
       “Date(s) Testified,” which is for the Court’s use only. Unlisted witnesses
       may not testify at trial absent good cause. This restriction does not apply to
       true rebuttal witnesses, i.e., witnesses whose testimony could not have been
       reasonably foreseen as necessary. Records custodians may be listed, but will
       not likely be called at trial, except in the rare event that authenticity or
       foundation is contested. Finally, the Court encourages stipulations of fact to
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       avoid calling unnecessary witnesses.

   5. Exhibit Lists: By the Joint Final Pretrial Statement deadline above, each
      party must file and email in Microsoft Word® format to the assigned
      District Judge’s Chambers inbox a list of exhibits that may be introduced at
      trial. On the morning of trial before jury selection, each party must also give
      the Courtroom Deputy Clerk 3 copies of their final exhibit lists.

       Each party must use the Exhibit List form on the Court’s website. When
       filling out the form, counsel must provide a descriptive notation that
       identifies each exhibit. The Court will not receive unlisted exhibits into
       evidence at trial unless needed to further justice.

       Counsel must submit all stipulated exhibits as joint exhibits to avoid
       duplicate exhibits and confusion in the record. Counsel must identify joint
       exhibits on a single exhibit list rather than separately list the joint exhibits
       on their individual exhibit lists. For example, if a photograph is being
       stipulated into evidence, it should be marked as a joint exhibit and not listed
       separately on each party’s exhibit list. Each party’s individual exhibit list
       should include only exhibits to which objections have been asserted.

       When offering into evidence a document larger or smaller than 8.5”x11”,
       counsel must also offer an 8.5”x11” reduction or enlargement of the
       exhibit. Counsel will be deemed to have stipulated to the substitution of the
       photographs or 8.5”x11” reduction/enlargement of exhibits in the record on
       appeal, unless otherwise ordered by the Court. Objections to such
       photographs or reductions of exhibits must be listed in the Joint Final
       Pretrial Statement.

   6. Labeling Exhibits: Before trial (and any evidentiary hearing), each party
      must mark exhibits using the exhibit labels from the clerk or the Court’s
      website. Counsel must staple the appropriate tag to the upper right corner
      of the first page and use consecutive numbers to mark exhibits.

   7. Joint-Proposed Jury Instructions and Verdict Form: By the deadline above,
      the parties must file and email to the assigned District Judge’s Chambers
      inbox (in Microsoft Word® format) a single set of joint proposed jury
      instructions and a verdict form based on the Eleventh Circuit’s pattern Jury
      Instructions. If a pattern instruction is unavailable, the parties must submit
      a joint-proposed instruction and supporting case law for that instruction. A
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       party may include a contested charge at an appropriate place in the joint-
       proposed jury instructions. Any contested charge must designate the
       requesting party, cite authority for its inclusion, and summarize the opposing
       party’s objection. The Court will deny slanted proposed instructions.

   8. Electronic Exhibit Binder (required only for cases assigned to Judge
      Chappell): By noon on the day before the final pretrial conference, each
      party must provide Judge Chappell an electronic exhibit binder that contains
      all individual and joint exhibits to be introduced at trial. The electronic
      exhibit binder is for Judge Chappell’s use and replaces a hardcopy exhibit
      binder. Because the electronic exhibit binder is for Judge Chappell only,
      counsel must still bring paper copies of all exhibits that may be introduced
      at trial.

       To make the electronic exhibit binder, each separate exhibit must be saved
       as a PDF document and then combined with the other exhibits into a single
       PDF file. The single PDF file is the electronic exhibit binder. Within the
       single PDF file, counsel must identify each exhibit separately using PDF
       bookmarks. If an exhibit is physical evidence, counsel should insert a
       placeholder exhibit that states, “Exhibit [Number] is [description of
       exhibit].” When possible, counsel should text recognize any exhibit for the
       electronic exhibit binder.

       The electronic exhibit binder must be emailed to the Judge Chappell’s
       Chambers inbox. If the file is too large to email, counsel should provide the
       Court the binder on a thumb drive. Any party unable to comply with this
       requirement must immediately contact the Courtroom Deputy Clerk.

   9. Courtroom Technology: The Court requires counsel to use the courtroom
      technology and expects them to use the equipment before any trial or
      hearing. Parties should contact the Courtroom Deputy Clerk to test and learn
      the equipment well in advance of proceedings.

F. Final Pretrial Conference

   1. Attendance: Lead counsel and any unrepresented party must attend the final
      pretrial conference in person unless excused by the Court.

   2. Substance of Final Pretrial Conference: Counsel and unrepresented parties
      must be prepared and authorized to accomplish the purposes in Federal Rule
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       of Civil Procedure 16, including simplifying the issues, eliminating baseless
       claims or defenses, admitting facts and documents to avoid unnecessary
       proof, stipulating to the authenticity of documents, obtaining advance
       rulings on the admissibility of evidence, settlement, and use of special
       procedures to help resolve the dispute, disposing of pending motions,
       establishing a reasonable limit on the time allowed for presenting evidence,
       and other matters to facilitate the just, speedy, and inexpensive disposition
       of the case.

G. Trial

   1. Monthly Trial Term and Trial Calendar: This case is set for a monthly trial
      term. A date certain for trial will not be granted absent exceptional
      circumstances. During the assigned trial term, counsel, parties, and
      witnesses must be prepared to proceed to trial within twenty-four hours of
      notice.

       In consent cases, trials before the Magistrate Judge will be set for a date
       certain.

       Generally, criminal cases are tried first, followed by civil jury trials, and
       then civil non-jury trials. Cases not reached during the trial term will be
       rolled to the next month’s trial term after all criminal cases.

   2. Client Consent for a Trial Continuance: If requesting a trial continuance,
      Local Rule 3.08(b) requires trial counsel to certify the client consents to the
      continuance.

   3. Reassigning Trial to Another District Judge: The presiding District Judge
      may reassign this case to any other consenting District Judge to try the case.

   4. Resting at Trial: Absent showing good cause, any party whose turn it is to
      provide evidence will be deemed to have rested if, during the hours
      designated for trial, that party has no further evidence or witnesses available.

   5. Settlement: Counsel must immediately notify the Court if the action settles.
      After the Court issues the trial calendar, the parties must immediately tell
      the Court of any development that may affect trial. The Court will assess
      jury costs to the parties if they fail to inform it of settlement before the jury
      is called. Regardless of the status of settlement negotiations, the parties must

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       appear for all scheduled hearings, the final pretrial conference, and trial.

H. Sanctions

       A party who does not comply with this Order may be subject to sanctions
 including reasonable attorneys’ fees and costs, striking of pleadings, entry of
 default, dismissal, and a finding of contempt of court. See 28 U.S.C. § 1927; Fed.
 R. Civ. P. 16(f), 37; M.D. Fla. R. 3.01(g)(3), 3.10, 4.03(e).


ORDERED on April 13, 2022.




 Copies to: All Parties of Record




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